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1                                                        JUDGE JOHN C. COUGHENOUR
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8                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
9                                      AT SEATTLE
10   UNITED STATES OF AMERICA,                       )
                                                     )   CASE NO. CR02-0423C
11                         Plaintiff,                )
                                                     )   ORDER AMENDING THE
12                 v.                                )   PRELIMINARY ORDER OF
                                                     )   FORFEITURE OF KEITH E.
13   KEITH E. ANDERSON, and                          )   ANDERSON AND LOWELL WAYNE
     LOWELL WAYNE ANDERSON,                          )   ANDERSON RE: HOODSPORT,
14                                                   )   WASHINGTON PROPERTY
                           Defendants.               )
15                                                   )
                                                     )
16

17           THIS MATTER having come before the Court upon the Petition of John C.

18   Mitchell and Shirley A. Mitchell claiming an interest in the real property located in

19   Hoodsport, Washington as bona fide purchasers for value who were reasonably without

20   cause to believe the property was subject to forfeiture, and the government’s Response to

21   the Petition to Adjudicate Validity of Petitioner’s Interest in the Real Property in

22   Hoodsport, Washington, and the Court, having fully considered the submissions of the

23   parties and the files and records of this case, it is hereby

24           ORDERED that the petition of John C. Mitchell and Shirley A. Mitchell is

25   GRANTED. No other petitioners or claimants have come forward and filed a claim or

26   petition to the real property in Hoodsport, Washington, and the government has stipulated

27   that the petition should be granted.

28


     ORDER AMENDING PRELIMINARY ORDER OF FORFEITURE                               UNITED STATES ATTORNEY
                                                                                   700 Stewart Street, Suite 5220
     RE: HOODSPORT PROPERTY1                                                      Seattle, Washington 98101-1271
     CR02-0423                                                                             (206) 553-7970
            Case 2:02-cr-00423-JCC       Document 1303       Filed 03/01/06    Page 2 of 2



1            The Preliminary Orders of Forfeiture are hereby amended to dismiss the forfeiture
2    of the single family residence located in Hoodsport, Washington, more particularly
3    described as Lot thirty-two (32), Lake Cushman No. 8, Volume 7 of Plats, pages 54 to 59,
4    both inclusive, records of Mason County, Washington. [Parcel No. 42209 51 00032].
5            The United States is directed to file a Release of Lis Pendens within ten (10) days
6    of the entry of this Order.
             SO ORDERED this 1st day of March, 2006.



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                                                UNITED STATES DISTRICT JUDGE
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12   Presented by:
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14
        /s/ Richard E. Cohen
     RICHARD E. COHEN
15   Assistant United States Attorney
     700 Stewart Street, Suite 5220
16   Seattle, Washington 98101-1271
17
     206-553-2242; 206-553-6934 (fax)
     Richard.E.Cohen@usdoj.gov
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     ORDER AMENDING PRELIMINARY ORDER OF FORFEITURE                               UNITED STATES ATTORNEY
                                                                                   700 Stewart Street, Suite 5220
     RE: HOODSPORT PROPERTY2                                                      Seattle, Washington 98101-1271
     CR02-0423                                                                             (206) 553-7970
